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THE UNITED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT OF ARKANSAS
LITTLE ROCK DIVISION

TEREsA BLooDMAN PLAINTIFF
v. ` CASE NO.: 4:16-cv-773-sWW
BANK oF AMERICA, N. A., DEFENDANTS

MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
a subsidiary of MERSCORP, INC.,
as Nominee and Mortgagee for
One Bank and Trust, an Arkansas
Corporation; COUNTRYW|DE HOME LOANS;
ONE BANK AND TRUST;
CARRINGTON MORTGAGE
BRIEF IN SUPPORT OF lV.[OTION TO DISMISS

Bank of America, N.A. (“BAN ”); Carrington l\/lortgage Services, LLC
'("Carrington"); l\/lortgage Electronic Registration Systems, lnc. (“l\/IERS”); and
Countrywide Home Loans, lnc. (“Countrywide”) (collectively, “Defendants”)
pursuant to Federal Rule of Civil Procedure 12(b)(6), appear and jointly file this
Brief in Support of Defendants’ l\/lotion to Dismiss seeking an order from this Court
dismissing the Complaint filed by plaintiff Teresa Bloodman_(“Plaintiff’ or “l\/ls.
Bloodman”) because Plaintiff s Complaint is barred by the doctrine of res judicata
and/or collateral estoppel and because it is otherwise not actionable as a matter of
laW.

I. FACTUAL BACKGROUND

The matter relates to a $203,500.00 promissory note (the “Note”) executed

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by Plaintiff on October 2, 2009,1 and secured by a Deed of Trust on real property
located at 5528 LeXington Ave, Benton, Arkansas 7 2019 (the “Property”).Z The
Deed of Trust Was recorded by the Saline County Circuit Clerk on October 16, 2009,
3 and named l\/IERS as its beneficiaryflc

l\/lERS assigned the Deed of Trust to Bank of America, N.A., successor by
merger to BAC Home Loans Servicing, LP flra Countryvvide Home Loans Servicing,
LP (“BANA”) in an Assignment of Deed of Trust dated September 13, 2011 and
recorded on October 19, 2011.5 Carrington l\/lortgage Services, LLC (“Carrington”)
began servicing the loan in l\/.[ay of 2013 on behalf of BANA.6

II. PROCEDURAL BACKGROUND
A. The Foreclosure Case
1. FolloWing a default on the loan, BANA filed a foreclosure complaint

against Teresa Bloodman on July 15, 2014 in the Circuit Court of Saline County,

 

1ln ruling on a Rule lZ(b)(6) motion to dismiss, a court may consider documents that are part of the
public record as Well as “materials that are ‘necessarily embraced by the pleadings.”’ Clough v.
Countrywide Home Loans, Inc., No. l:OS-CV-OOOSB-BSl\/l, 2008 WL 5263385, at *2 (E.D. Arl<. Dec. l7,
2008). Here, Plaintiff”s Complaint refers to the debt, Note, Assignment, and Deed of Trust. Plaintiff also
attached portions of the Deed of Trust and Assignment to the Complaint. Additionally, the Complaint
references the previous Foreclosure Case, and the Orders and Decree associated With that case are public
records and are embraced by these pleadings Thus, these documents are properly before the Court.
Portions of the prior case record are attached hereto for convenience Even Were the Court to disregard
those documents, however, Defendant’s Motion to Dismiss should still be granted

2 A copy of the Deed of Trust is attached as “Exhibit l” to the Complaillt~
3 “Exhibit l” to the Complaill'f~

4 1a

5 “Exhibit 3” to the Complairlt-

6 “Exhibit 4” to the Complaint.

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Arkansas (Case No. 63CV-14-415-2, hereinafter “The Foreclosure Case”).7

2. ln the Foreclosure Case, BANA sought a $200,137.59 judgment against
the Property in rem and l\/ls. Bloodman in personam for the amount remaining on
the Note.

3. After l\/ls. Bloodman failed to make an appearance, a Decree of
Reformation and Foreclosure (“the Foreclosure Decree”) Was signed by the Court
and recorded on December 29, 2014.8

4. The Foreclosure Decree stated, in part, that if the balance of the Note,
plus interest and attorneys’ fees, Was not paid Within 10 days, the Commissioner of
the Court shall sell the Property at public auction to the highest bidder.9

5. l\/loreover, the Foreclosure Decree stated that after said sale, all the
right, title, claim, equity, interest, and estate of all Defendants to the subject
property shall be forever barred and foreclosed10

6. On January 12, 2015, l\/ls. Bloodman appeared for the first time by
filing a l\/lotion to Set Aside the Default Judgment, To Dismiss, and to Stay All
Proceeding and/or Sale of the Property (“First l\/lotion to Set Aside Judgment”).

7. The Court denied l\/ls. Bloodman’s First l\/lotion to Set Aside Judgment

 

7 This case is directly referenced in Plaintiff”s Complaint at p. 4 and is also a matter of public record for
Which this Court may take judicial notice.

8 The Decree is attached the Motionlto Dismiss as EXhibit 1.

9 Id.

10 Ia’. The Decree also reformed a scrivener’s error in the spelling of the Word “Hurricane” in the legal
description of the Property. Originally, the Deed of Trust and Assignment of Deed of Trust contained the

spelling “Hurrican.” Plaintiff once again mentions this rnisspelling in her Complaint in the current case,
but these issues have been resolved and corrected by the Decree.

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on l\/larch 13, 2015.

8. l\/ls. Bloodman filed a Notice oprpeal on l\/larch 16, 2015, challenging
both the Foreclosure Decree, and the Order denying the First l\/lotion to Set Aside
Judgment. The Arkansas Court of Appeals ultimately denied l\/ls. Bloodman’s
petition for rehearing on l\/larch 16, 2016, 11 and affirmed the Circuit Court decision
in a l\/landate filed on June 23, 2016 (Court of Appeals Case No. (3\7-15-343).12

9. The Supreme Court of Arkansas denied l\/_[s. Bloodman’s petition for
review on June 23, 2016.13

10. The Property Was sold at public auction to the highest bidder on
September 14, 2016.

11. The Circuit Court entered an Order of Confirmation on September 20,
2016, confirming that the sale of the Property was “legally proper in all respects.”14

12. On October 6, 2016, l\/ls. Bloodman filed: (1) an Amended Motion to Set
Aside Commissioner’s Sale; (2) a l\/lotion to Set Aside Order of Confirmation; (3) a

l\/lotion to Strike Report of Foreclosure Sale; and (4) a l\/lotion to Set Aside

 

11 The letter from the Clerl< of the Arl<ansas Court of Appeals addressed to Ms. Bloodman denying the
Petition for Rehearing is attached the Motion to Dismiss as EXllibit 2.

12 The Mandate is attached to the Motion to Dismiss as Exhibit 3.

13 The letter from the Clerk of the Arkansas Supreme Court addressed to l\/Is. Bloodman denying the
petition for review is attached to the Motion to Dismiss as EXhibit 4. Ms. Bloodman appealed several
aspects of this case to the Arl<ansas Supreme Court as well as the Court of Appeals, all of which were
unsuccessful. The Docl<ets from each Court are collectively attached hereto as EXhibit S. These
documents are public records associated with the previous case that are referenced in Plaintiff’s
Complaint

14 The Order of Confirmation is attached as Exhibit 6.

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Commissioner’s Deed (collectively “Post Appeal l\/lotions”).15 These Post Appeal
l\/lotions echo the same causes of action that l\/ls. Bloodman advances in the current
action.16

B. The Current Action

13. l\/ls. Bloodman filed her Complaint in this action on September 14,
2016.

14. l\/ls. Bloodman’s current Complaint involves the same set of facts and
circumstances as the Foreclosure Case.

15. ln her Complaint, l\/ls. Bloodman seeks relief that revolves solely
around the facts and circumstances relating to the foreclosure sale of the Property»-
entitlement to foreclose upon the loan and exercise the power of sale. Specifically,
l\/ls. Bloodman requests relief for declaratory judgment, breach of contract, breach of
duty of good faith, quiet title, and damages.l7

16. This Court should dismiss Plaintiff s Complaint, with prejudice,
because it fails to state a claim on which relief can be granted, as it violates the
doctrines of res judicata and/or collateral estoppel.

III. STANDARD OF REVIEW
lt is well-established that a plaintiffs petition must contain “a short and

plain statement of the claim showing that the pleader is entitled to relief,” so that

 

15 Plaintiff’s Post~Appeal Motions are collectively attached as Exhibit 7 . For brevity, the exhibits
originally attached to the Post-Appeal l\/lotions have been omitted

16 F or instance, in her Amended Motion to Set Aside Commissioner’s Sale, Ms. Bloodman asserts that the
mortgage and note are invalid The same claim is “cut and pasted” in this case as her Fifth Cause of
Action.

17 Pl. Complaint at l.

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the defendant has “fair notice of what the . . . claim is and the grounds upon which
it rests.” FED. R. CIV. PROC. 8(a) BellAtl. Corp. z). Twombly, 550 U.S. 544, 554-55
(2007),'Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009). Further, the factual allegations in
a petition “must be enough to raise a right to relief above the speculative level.”
Tu)ombly, 550 U.S. at 555. ln practice, “a [petition] . . . must contain either direct or
inferential allegations respecting all the material elements necessary to sustain
recovery under some viable legal theory.” Id. at 556.
IV. LAW AND ARGUMENT
A. Plaintiff’s Complaint is Barred by the Doctrine of Res Judicata

This Court should dismiss Plaintiff s Complaint because the doctrine of res
judicata bars re-litigation of plaintiffs claims because she is collaterally attacking
the validity of the existing state court judgment adjudicating the foreclosure case.18
ln this circuit, “The law of the forum that rendered the first judgment controls the
res judicata analysis.” Laase U. Cnty. ofIsanti, 638 F.3d 853, 856 (Sth Cir. 2011).

Because the state court rendered the first judgment in the form of the
Foreclosure Decree, Arkansas law controls.19 Under Arkansas lavv, res judicata
applies when the following factors are metz

(1) a final judgment on the merits,

(2) entered by a court of competent jurisdiction,

 

18 The doctrine of res judicata, although an affirmative defense, can be properly raised through a motion
to dismiss C.H. Rcl)inson Worldwia’e, Inc. v. Lobrano, 695 F.3d 758, 763-64 (Sth Cir. 20l2). “Indeed,
[i]f an affirmative defense is apparent on the face of the complaint that [defense] can provide the
basis for dismissal under Rule lZ(b)(G).” Id. at 764 (internal quotation marks omitted) (alterations in
original) (quoting Noblc Sys. Corp. v. Alorica Cem‘., LLC, 543 F.3d 978, 983 (Sth Cir. 2008)).

19 inhibit A.

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(3) between the same parties or privies, and

(4) regarding a claim that was actually raised or could have been raised in
the prior action. Dennington v. State Farm F irc and Cas. Co. and State Farm Gen.
Ins. Co., _ S.W.3d __, No. 4:14-CV-4001, 2016 WL 1021003, at *4 (W.D. Ark. l\/lar.
14, 2016). lmportantly, when “a case is based on the same events as the subject
matter of a previous lawsuit, res judicata will apply even if the subsequent lawsuit
raises new legal issues and seeks additional remedies.” Jayel Corp. U. Cochran, 366
Ark. 175, 178, 234 S.W.3d 278, 281 (Ark. 2006) (citing Swofford 1). Stafford, 295
Ark. 433, 748 S.W.2d 660 (Ark. 1988). “One of the main purposes of the doctrine of
res judicata is to put an end to litigation by precluding a party who has had the
opportunity for one fair trial from drawing the same controversy into issue a second
time before the same or different court.” Elbeck i). Kennernore, No. 3102-CV-00334
SWW, 2005 WL 3797698, at *4 (E.D. Ark. July 5, 2005) (citing Banleston v.
McKenzie, 288 Ark. 65, 702 S.W.2d 14 (Ark. 1986)). y

The Foreclosure Decree entered by the Circuit Court qualifies as a final
judgment on the merits under the doctrine of res judicata. ln Bruns Foods of
Morrilton, Inc. U. Hau)kins, the Arkansas Supreme Court recognized that although
the party prevailed in the previous suit by “default judgment and not by an

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adjudication on the merits, with regard to the doctrine of res judicata a decree
entered by default is as conclusive as any other judgment or decree.” 328 Ark. 416,
419, 944 S.W.2d 509, 510 (Ark. 1997); see also Williarns U. Conn. Gen. Life Ins. Co.,

26 Ark. App. 59, 62, 759 S.W.Zd 815, 817 (Ark. Ct. App. 1988) (“A judgment by

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default is just as binding and forceful as a judgment entered after a trial on the
merits of a case. A defense not presented before the entry of a default decree is
barred by the doctrine of res judicata.”) (internal citations omitted). The Court in
the foreclosure case entered the Foreclosure Decree on December 29, 2014. The
Foreclosure Decree and the orders that followed, including the state court’s denial of
Plaintiff s First l\/lotion to Set Aside Judgment are all final judgments on the merits
under Arkansas law.

The Foreclosure Decree and subsequent orders in the Foreclosure Case
explicitly find that l\/ls. Bloodman no longer holds any interest in the Property, that
the sale of the Property was lawful, and that all aspects of the sale were legally
proper. The crux of all the issues in this case deal directly with the Property and
the Foreclosure Sale of that Property. Because the final judgments issued in the
Foreclosure Case make it clear that the sale of and rights to the Property were
properly executed and assigned, it is a final judgment that precludes claims relating
to the sale of and rights to the Property.

The second and third prongs of the Arkansas test for res judicata are also
satisfied. The Circuit Court of Saline County (the location of the Property) had
proper jurisdiction over the Foreclosure Case. BANA was a party to the Foreclosure
Case. l\/loreover, the additional parties named in the current case are privies of
BANA. ln Arkansas, privity exists “when two parties are so identified with one
another that they represent the same legal right.” Cochran, 366 Ark. 17 5, 17 8, 234

S.W.3d 278, 281 (Ark. 2006). l\/loreover, Arkansas courts “have never required strict

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privity in the application of res judicata, but instead have supported the idea that
there must be a ‘substantial identity of parties’ to apply the doctrine.” Crockett U.
C.A.G. Inv., Inc., 2011 Ark. 208, 214, 381 S.W.Sd 793, 799 (Ark. 2011). Finally,
“[t]he true reason for holding an issue to be res judicata is not necessarily the
identity or privity of the parties but is designed to put an end to litigation by
preventing a party who has had one fair trial on a matter from re-litigating the
matter a second time.” Wells v. Heath, 269, Ark. 473, 479, 602 S.W.2d 665, 668 (Ark.
1980).20'

Here, all named Defendants are privies, as they all represent the same legal
right, namely, the interest in the defaulted loan and Property securing the lien that
resulted in the foreclosure judgment and sale that was confirmed by the state
Court. Therefore, the second and third prongs are both satisfied in the current case.

Finally, this case involves claims that Were raised or could have been raised
in the Foreclosure Case. Under Arkansas law, “[r]es judicata bars not only the re-
litigation of claims that were actually litigated in the first suit but also those that
could have been litigated.” Elder i). Mark Ford & Assocs., 103 Ark. App. 302, 304,
288 S.W.Sd 702, 704 (Ark. Ct. App. 2008). lmportantly, the Elder Court stated that
“when a new action is based on the same events and subject matter as the previous

case, and only raises new legal issues and seeks additional remedies...the present

 

20 Arkansas Couits have found privity in many different circumstances and tend to analyze the cases
individually, as opposed to a strict privity test. See Cochran, 234 S.W.3d 278 (Ark. 2006) (holding that
an attorney-client relationship was sufficient to satisfy the privity requirement), Francis v. Francis, 31
S.W.3d 841 (Ark. 2000) (holding that relationship between brother and sister satisfied privity for res
judicata), Hardie v. Estate of Davis, 848 S.W.2d 417 (Ark. 1993) (holding that relationship between
testator and his remote heirs satisfied privity for res judicata), Phelps v. Justiss Oil Co., 726 S.W.2d 662
(Ark. 1987) (holding that relationship between a landlord and tenant satisfied privity for res judicata).

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case is barred by res judicata.” Id. Additionally, “[w]here a case is based on the
same events as the subject matter of a previous lawsuit, res judicata will apply even
if the subsequent lawsuit raises new legal issues and seeks additional remedies.”
Ganimon i). Ark. Hwy. & Transp. Dep’t., No. 2:07CV00148-WRW, 2008 WL 2717148,
at "'3 (E.D. Ark. July 9, 2008). lndeed, the underlying facts, events, and subject
matter are reliable indicators of whether the claims involved could have been
litigated in the first matter, and the fact that the plaintiff now has new theories or
remedies is of no consequence so long as they relate to the same events.

Plaintiff asserts fifteen causes of action in this matter.21 However, all the
causes of action ultimately relate to and revolve around the sale of the Property and
the final judgment in the Foreclosure Case. For example, l\/ls. Bloodman’s
Complaint repeatedly alleges that the Defendants lacked standing to sell the
Property. However, the Foreclosure Decree explicitly states that the Defendants
hold title to the Property, and the Defendants could sell the Property within ten (10)
days if the debt was not paid. Additionally, l\/_[s. Bloodman alleges non-compliance
with Arkansas statutory foreclosure provisions and seeks to invalidate the sale.

However, the Order of Confirmation explicitly states that all aspects of the sale

 

21 The Complaint numbers the causes of action to fourteen, however, number five is repeated, thus adding
up to fifteen total causes of action: (1) Standing; (2) Non-Compliance with Arl<ansas Statutory
Foreclosure Provisions; (3) Breach of Contract; (4) Breach of Duty of Good Faith and Fair Dealing; (5)
Quiet Title Remove Could on Title; (6) Invalidated l\/lortgage and Note; (7) No Notice of Default; (8)
Unclean Hands; (9) Violation of 15 U.S.C. § 1692 et. seq.; (10) Abuse of Process; (ll) Violation of
Federal Truth in Lending Act, 15 U.S.C. § 1641; (12) Lack of Default; (13) Unauthentic and
Unauthorized Signatures; (14) BANA ls not Holder in Due Course; and (15) BANA is Not the
Noteholder. The aim of each cause of action is ultimately the invalidation of the state judgment

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were legally proper. 22 l\/ls. Bloodman’s claims, therefore, are barred because they
attack issues that have already been decided in the Foreclosure Case. lndeed, Ms.
Bloodman is attempting to re-litigate the same issues after receiving multiple,
adverse rulings both at the trial level and on appeal. l\/loreover, even if l\/_[s.
Bloodman could raise a new theory or remedy in the current case, the claims would
still be barred by the doctrine of res judicata because any new theory still involves
the events and subject matter and could have been raised in the Foreclosure Case.
See C/ieney v. Countrywide Horne Loans, Inc., No. 5:05-CV-00259-Jl\/ll\/l, 2005 WL
2674965, at *1 (E.D. Ark. Oct. 20, 2005) (granting the defendant’s motion to dismiss
on the basis of res judicata because the plaintiff failed to litigate the issues in the
foreclosure proceedings).

B. Plaintiff’s Complaint is Barred by the Doctrine of Collateral

Estoppel.

At a minimum, Plaintiff s claims are barred by the doctrine of collateral
estoppel because l\/ls. Bloodman seeks to re-litigate the precise question already
decided_entitlement to foreclose upon the Property. Collateral estoppel, or issue
preclusion, bars the re-litigation of issues of fact or law that were actually litigated
and decided in a prior suit. Pou)ell v. Lane, 375 Ark. 178, 181, 289 S.W.3d 440, 444
(Ark. 2008). ln Arkansas, “[c]ollateral estoppel requires four elements before a
determination is conclusive in a subsequent proceeding: (1) the issue sought to be
precluded must be the same as that involved in the prior litigation; (2) that issue

must have been actually litigated; (3) the issue must have been determined by a

 

22 Order of Confirination, pg. l, attached as Exhibit 8.

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valid and final judgment; and (4) the determination must have been essential to the
judgment Id. (emphasis added) (citing State Office of Cliild Support Enforcement v.
Willis, 59 S.W.3d 438 (Ark. 2001). Unlike res judicata, collateral estoppel is not
limited to actions between the same parties and their privies. See Roberts i).
Unimin Corp., No. 1:15CV00071 JLH, 2015 WL 8731632, at *7 (E.D. Ark. Dec. 11,
2015). Thus, even if Defendants are not in privity with the prior litigant, BANA,
Plaintiff s attempts to re-litigate the same ultimate issues is barred by collateral
estoppel

Here, the issues that are precluded are the rights to the Property and the
validity of the foreclosure sale. The Foreclosure Case has already determined both
of those issues in the Decree and the Order of Confirmation. Those determinations
were affirmed on appeal. These are precisely the underlying issues upon which all
fifteen (15) causes of action in the current case rest.

The second prong of the collateral estoppel test is also satisfied because
default judgments satisfy the meaning of “actually litigated” in the context of
collateral estoppel. lndeed, the Arkansas Supreme Court, when applying collateral
estoppel to a default judgment, stated, “[i]n the context of collateral estoppel,
‘actually litigated’ means that the issue was raised in pleadings, or otherwise, that
the defendant had a full and fair opportunity to be heard, and that a decision was
rendered on the issue.” Powell, 289 S.W.3d at 445. Thus, the fact that plaintiff did

not appear before the first Decree is inconsequential

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The third and fourth prongs of the test are also satisfied because the Decree
and Order of Confirmation were rendered by a court with proper jurisdiction over
the matter-the Circuit Court of Saline County is clearly competent to render a
judgment involving the foreclosure of a lien against real property located within
that county. l\/loreover, the determinations of the issues of property rights and
validity of the sale were essential to both the Decree and Order_a valid foreclosure
judgment is dependent upon both a valid interest in the property and standing to
exercise the power of sale contained in the Deed of Trust.

Thus, even if this Court found that res judicata does not fully resolve the
claims in this case, the doctrine of collateral estoppel should apply to each
remaining count. Ultimately, the issues that form the basis for all of l\/ls.
Bloodman’s causes of action in this case, namely, the rights to and sale of the
Property, have already been finally decided by the state court in the Foreclosure
Case.

V. CONCLUSION
l\/ls. Bloodman is attempting to re-litigate issues of law that have already been
decided by a competent state court judgment l\/ls. Bloodman’s filing of this
Complaint represents a fourth23 bite at the same legal apple and is a bald attack on
a valid judgment Thus, it presents a clear application of the doctrines of res

judicata and/or collateral estoppel. Defendants request that this Court dismiss

 

23 l\/ls. Bloodman already moved to set aside the Foreclosure Decree, followed by an unsuccessful appeal,
and then by a series of Post-Judgment Motions attempting to invalidate the foreclosure on almost
verbatim legal theories as those asserted in this action. Thus, this is her fourth attempt to secure the same
relief.

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Plaintiff s Complaint, with prejudice, because it is barred by the doctrines of res

judicata and/or collateral estoppel.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

l hereby certify that on October 28, 2016, l served a copy of the foregoing via
the Court's electronic case filing system to all registered participants including the
following:

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